     Case 5:04-cr-40141-JTM   Document 234       Filed 09/06/05   Page 1 of 9




                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.   04-40141-01, 02
                                             )
ARLAN DEAN KAUFMAN and                       )
LINDA JOYCE KAUFMAN,                         )
                                             )
                         Defendants.         )
                                             )


                              MEMORANDUM AND ORDER
       Before the court are the following:

       1.    Defendants’ joint motion to suppress evidence due to
             misrepresentations in search warrant affidavit (Doc.
             134);
       2.    Government’s response (Doc. 161); and

       3.    Defendants’ joint reply (Doc. 184).
       Pursuant to defendants’ request, this matter was set for a

Franks hearing.1      However, on August 30, 2005, at the outset of the
hearing, defendants made the surprise announcement that they would
present no evidence in support of their motion and instead would

rely on their written submissions.                   This astounding change of
position occurred even though the author of the bitterly-criticized
affidavit was sitting in the courtroom.
       For the following reasons, defendants’ joint motion is denied.

                  The Law Applicable to Franks Hearings

       The standards pertaining to the Franks hearing are well known.


       1
     Franks v. Delaware, 438 U.S. 154, 57 L. Ed. 2d 667, 98 S. Ct.
2674 (1978).
  Case 5:04-cr-40141-JTM   Document 234    Filed 09/06/05    Page 2 of 9




In United States v. Artez, 389 F.3d 1106 (10th Cir. 2004), the
court provided the following summary:

         Under Franks v. Delaware, a defendant may request an
    evidentiary hearing regarding the veracity of a search
    warrant affidavit. 438 U.S. 154, 171-72, 98 S. Ct. 2674,
    57 L. Ed. 2d 667 (1978). Before the defendant will be
    entitled to such a hearing, however, the defendant must
    allege deliberate falsehood or reckless disregard for the
    truth, and those allegations must be accompanied by an
    offer of proof. Id. at 171, 98 S. Ct. 2674. Affidavits
    of witnesses should be provided to the court or their
    absence satisfactorily explained. Id. Allegations of
    negligence or innocent mistake are insufficient. Id. If
    these requirements are met, then the defendant must show
    that the remaining content of the warrant affidavit is
    insufficient to support a finding of probable cause. Id.
    at 171-72, 98 S. Ct. 2674. “The standards of deliberate
    falsehood and reckless disregard set forth in Franks
    apply to material omissions, as well as affirmative
    falsehoods.” [United States v.] Avery, 295 F.3d [1158,]
    1166 [(10th Cir. 2002)].

Id. at 1111.
                                Discussion
    Defendants’ joint motion and reply total over fifty pages.
They make no identifiable allegations of deliberate falsehood.
However,   the   submissions   are    well-larded       with    allegations       of

material omissions and misrepresentations (Doc. 134 at 10-16).
Nevertheless,     notwithstanding         the     Tenth      Circuit’s       clear
requirements, the motion contains no identifiable offer of proof.
This failure, standing alone, would have justified a decision not
to hold a Franks hearing.           Defendants’ motion is supported by

numerous   exhibits,   but   only    three      (Nos.   9,   10,   and     11)   are
affidavits. Defendants’ motion makes no effort to authenticate the
remaining exhibits in the manner contemplated by Fed. R. Evid. 901,
even though authentication would have been easily accomplished.
For example, one of the exhibits purports to be an undated letter

                                     -2-
  Case 5:04-cr-40141-JTM      Document 234    Filed 09/06/05   Page 3 of 9




prepared by defendant Arlan Kaufman entitled “Warning: Nude People
at Work-Don’t Look Give ‘Em a Break.”             Defendant Arlan Kaufman was

present at the hearing and was available to authenticate the
document without exposing himself to cross examination regarding
its contents or any other aspect of the case.                  The court informed
both defendants of their right to testify.              Both declined to do so.
Even in those situations where the government has the burden of

proof, the absence of any refutation or contradiction by a criminal
defendant allows the persuasive force of the government’s evidence
to go undiminished.        United States v. Conley, 131 F.3d 1387, 1391
n.2 (10th Cir. 1997).        Of course, when a defendant has the burden,
his or her failure to present evidence does not help a defendant’s

case.
       Defendants’ failures to produce evidence and authenticate

documents   are    significant         because    it   was     their    burden    to
demonstrate the veracity of their accusations of misrepresentation
and material omissions.           For example, defendants contend that

Special Agent Filson made a misrepresentation when he averred:
“there is circumstantial evidence to suggest, primarily through the
statement of the victims, that benefit money is inuring [sic]
directly to Arlen [sic] and Linda Kaufman and that it is not being
used appropriately.”         Defendants now assert that “this statement

is contradicted by the victim’s statments [sic].” (Doc. 134 at 11-
12.)     There    are   no    actual    “victim     statements”        attached   to
defendants’ motion.          Defendants presumably are referring to the
unauthenticated written summaries of interviews of “victims” by
Captain Craig Murphy of the Butler County Sheriffs Department (Doc.

                                        -3-
     Case 5:04-cr-40141-JTM    Document 234      Filed 09/06/05     Page 4 of 9




134, Ex. 2).       One of the “victims,” JM, told Captain Murphy that
in response to a question regarding whether defendant Kaufman paid

him for working at the farm, “Dr. Kaufman does not pay me, he gets
my social security.”           Another “victim,” MH, is reported to have
told Captain Murphy that “her dad pays the Kaufmans as well as a
social      security    disability      paying     for      her   to    live      at   this
residence.”      In other words, Special Agent Filson’s statement is

not contradicted and is not a misrepresentation.
       Defendants also cite as “material omissions” from Special

Agent    Filson’s      affidavit   his     failure     to    cite      defendant       Arlan
Kaufman’s      unauthenticated       and    undated      letter        “explaining       the
nudity.”      It is true Agent Filson’s June 13, 2001 affidavit does

not mention the letter.          However, because the letter is undated and
otherwise unauthenticated, it is impossible to tell whether the
letter was written before or after the affidavit was prepared.
Agent Filson was available to be called as a witness to determine
whether he was aware of the letter when he prepared and swore to

the affidavit.         Defendants’ failure to do so raises an inference
that the letter was written after the date of the affidavit.                            Even
if    the   letter     was    written   before     Agent      Filson      prepared      the
affidavit, its omission from the affidavit was not material.                            This
court can say with certainty that Chief Magistrate Judge Karen

Humphreys’ decision to issue the 2001 search warrant would not have
been changed by a letter which states, among other things, that
“more recently public surveys reveal that approximately twenty-five
percent of adults in this country have participated in clothing-
optional recreational activities where total nudity of both sexes

                                           -4-
     Case 5:04-cr-40141-JTM   Document 234    Filed 09/06/05   Page 5 of 9




is    experienced”      and   that    Pope    John    Paul     II   has      “written
extensively” on the subject of public nudity.

       Finally,     defendants       allege    misrepresentations            by   two
individuals mentioned in Agent Filson’s affidavit. Filson averred:
            KBSRB had their Primary Consulting Board Member,
       Charles Frankenfeld, LSCSW, review the facts of their
       case. Mr. Frankenfeld found probable cause to believe a
       violation of the Board's rules and regulations was
       committed as to the nature of the clinical social work
       provided.    Furthermore,   KBSRB    consulted   with   a
       psychologist, Larry Hays, Ph.D., concerning the standard
       or   usual  number   of   therapeutic   sessions   for  a
       therapist-client relationship. This was sought because of
       what seemed an excessive amount of Medicare billing. Dr.
       Hays “expressed that even in consideration of external
       environmental payor expectations and the individual's
       treatment needs, [this case] fell far outside the bounds
       of normal standards of care.      Dr [sic] Hays further
       stated that it is typical for many "folks (to be) seen
       once a week" and that the national data suggested that
       most patients are seen for therapy 10 sessions or less.”
       Another Licensed Clinical Social Worker, John Presley,
       was consulted. Mr. Presley works for the Central Kansas
       Mental Health Center and is a Social Work Advisory
       Committee Member for KBSRB. "Mr. Presley offered that if
       the LSCSW were practicing psychoanalysis, it would be
       possible the client would be seen several times in a week
       for an extended period of time. Mr. Presley added that
       this instance was extremely unusual but under those
       circumstances 100 individual sessions per year would not
       be unreasonable but would require extensive documentation
       by the LSCSW.    "The 300 hours of group therapy seems
       excessive since the intensive work that I've mentioned is
       always done individually[,”] is what Mr. Presley
       commented. In this case, Mr. Kaufman has in some cases
       billed for over 600 hours of group therapy in a year for
       one patient.
(Doc. 134, Ex. 1 at 11-12 (footnotes omitted).)

       Defendants claim that Agent Filson falsely represented that
Hays “believed that Dr. Kaufman’s frequent group therapy sessions
‘fell far outside of the bounds of normal standard of care.’                       He
went so far as to alter the one report of Dr. Hays’ opinion from
‘this example’ to ‘this case.’” In support of this claim of

                                        -5-
  Case 5:04-cr-40141-JTM    Document 234      Filed 09/06/05   Page 6 of 9




misrepresentation, defendants have presented Hays’ affidavit which
states, in pertinent part:

       3.   I have been told that a search warrant affidavit
       included an opinion that I gave in response to some
       unknown hypothetical. I do not remember the hypothetical
       or giving a response. This does not mean that it did not
       happen, just that I do not remember it.
       4. The hypothetical might have been given to me
       informally, such as over a coffee break. I certainly did
       not review any materials related to Dr. Kaufman's case
       before giving an opinion.
       5. Daily therapy for chronic schizophrenics can be
       appropriate in hospitals.    An example would be daily
       psychosocial groups.    In psychosocial groups, social
       workers work with patients with the goal of helping them
       function successfully outside of a hospital setting. It
       is appropriate and fairly common for such groups to meet
       almost daily. What is appropriate outside of hospitals
       is not my area of expertise.

(Doc. 134, Ex. 9.)
       Hays’ affidavit does not demonstrate a misrepresentation.                    On

the contrary, Hays does not remember the hypothetical presented to
him. There is, however, a misrepresentation: defendants’ statement
that “Dr. Hays agrees that daily group therapy is proper for

patients like Dr. Kaufmans’.”         Nothing in Hays’ affidavit supports
this   statement.     Whatever       therapy    was    being    provided     to    the
“victims” was not given in a hospital.
       Defendants   also    allege    that     Agent    Filson     misrepresented

statements made by John Presley.             Defendants contend that Presley

was not consulted about Kaufman’s case and that his opinion “at
best   was   an   opinion   about     some    unknown     hypothetical.           That
hypothetical is highly suspect.              Mr. Presley agrees that daily
psychosocial group work is proper for patients like Dr. Kaufman’s.
It is provided four days per week at his community mental health

                                       -6-
  Case 5:04-cr-40141-JTM    Document 234     Filed 09/06/05   Page 7 of 9




center,   with   sessions    lasting    between     thirty     minutes      and   two
hours.”   Mr. Presley’s affidavit states, in pertinent part:

    3. In this capacity, it was not uncommon for a BSRB
    investigator or board member to present a hypothetical to
    the committee and I would express an opinion about the
    hypothetical.    In such situations, names were not
    mentioned.
    4. I was not a member of the group who would review
    investigatory materials or case files. I have no memory
    of the Kaufman's case or of giving a response to a
    specific hypothetical about their case. That does not
    mean that I did not give a response to a hypothetical,
    that I just don't remember it.
    5. In the early 1990's, the Central Kansas Mental Health
    Center   conducted   group    therapy   sessions    with
    schizophrenic patients. That model was replaced in the
    early 1990's with psychosocial groups.        The large
    psychosocial group with the Center currently meets four
    days per week. Some meetings are one hour, others are
    longer. Not every group member attends each meeting.
(Doc. 134, Ex. 10.)
    Presley obviously does not state that “daily psychosocial

group is proper for patients like Dr. Kaufman’s.”               Presley recalls
nothing regarding Kaufman’s case.
    No justifiable purpose will be served by further discussion of
defendants’ allegations regarding Agent Filson’s affidavit.                       The
court generally agrees with the government’s response (Doc. 161).

    The standards for this court’s review of Chief Magistrate
Judge Humphreys’ decision to issue a search warrant are set forth
in United States v. Artez, 389 F.3d at 111:
    1. Standards of Review

         A magistrate judge's task in determining whether
    probable cause exists to support a search warrant “is
    simply to make a practical, common-sense decision
    whether, given all the circumstances set forth in the
    affidavit before him, including the ‘veracity’ and ‘basis
    of knowledge’ of persons supplying hearsay information,

                                       -7-
  Case 5:04-cr-40141-JTM   Document 234    Filed 09/06/05   Page 8 of 9




    there is a fair probability that contraband or evidence
    of a crime will be found in a particular place.”
    Illinois v. Gates, 462 U.S. 213, 238, 103 S. Ct. 2317, 76
    L. Ed. 2d 527 (1983). “Finely-tuned standards such as
    proof beyond a reasonable doubt or by a preponderance of
    the evidence, useful in formal trials, have no place in
    the magistrate's decision.” Id. at 235, 103 S. Ct. 2317.
         A magistrate judge's decision to issue a warrant is
    entitled to “great deference.” Id. at 236, 103 S. Ct.
    2317; United States v. Tuter, 240 F.3d 1292, 1295 (10th
    Cir. 2001). Accordingly, we need only ask whether, under
    the totality of the circumstances presented in the
    affidavit, the magistrate judge had a “substantial basis”
    for determining that probable cause existed. Gates, 462
    U.S. at 238-39, 103 S. Ct. 2317; Tuter, 240 F.3d at 1295.
The court also discussed the Franks standard in United States v.
Avery, 295 F.3d 1158:
         “Under Franks, a hearing on the veracity of the
    affidavit supporting a warrant is required if the
    defendant makes a substantial showing that the affidavit
    contains intentional or reckless false statements and if
    the affidavit, purged of its falsities, would not be
    sufficient to support a finding of probable cause.”
    United States v. Kennedy, 131 F. 3d 1371, 1376 (10th Cir.
    1997) (citing Franks, 438 U.S. at 155-56, 98 S. Ct.
    2674).    “The standards of deliberate falsehood and
    reckless disregard set forth in Franks apply to material
    omissions, as well as affirmative falsehoods.” United
    States v. McKissick, 204 F.3d 1282, 1297 (10th Cir.
    2000). If, after considering the evidence presented at
    a Franks hearing, the district court concludes by a
    preponderance of the evidence that the affidavit contains
    “intentional or reckless false statements,” Kennedy, 131
    F.3d at 1376, or “material omissions,” McKissick, 204
    F.3d at 1297, “then the district court must suppress the
    evidence obtained pursuant to the warrant.”     Id.   If,
    however, the district court concludes that the omitted
    information would not have altered the magistrate judge's
    decision to authorize the search, then the fruits of the
    challenged search need not be suppressed.         Id. at
    1297-98; Kennedy, 131 F.3d at 1376.
Id. at 1166-67.
    Judged   by   these    standards,     the   court   finds     that    it   was

entirely appropriate for Chief Magistrate Judge Humphreys to issue
a search warrant based upon Agent Filson’s affidavit.                 The court


                                    -8-
  Case 5:04-cr-40141-JTM   Document 234    Filed 09/06/05   Page 9 of 9




is not impressed by defendants’ attempt to “nit-pick” selected
portions of the affidavit, especially when defendants’ allegations

of misrepresentation and omission are neither properly supported
nor, to the minimal extent that they are supported, are refuted by
the supporting affidavits themselves.


                                Conclusion

    Accordingly, defendants’ joint motion (Doc. 134) is denied.
    IT IS SO ORDERED.

    Dated this     6th     day of September 2005, at Wichita, Kansas.


                                          s/ Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE




                                    -9-
